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                                                                                                       RKANSAS

                                                                                          MA O6 2020
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION
                                                                                                       DEPCLERJ(

UNITED STATES OF AMERICA                      )       No. 4:20CR 00 \0~       ~Gg
                                              )
V.                                            )
                                              )       21 U.S.C. § 841(a)(l)
JESSE BERRY                                   )

                                          INDICTMENT

THE GRAND JURY CHARGES THAT:

                                             COUNTl

        On or about January 29, 2020, the Eastern District of Arkansas, the defendant,

                                          JESSE BERRY,

knowingly and intentionally possessed with intent to distribute 50 grams or more of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                 FORFEITURE ALLEGATION 1

       Upon conviction of Count 1 of this Indictment, the defendant, JESSE BERRY, shall

forfeit to the United States, under Title 21, United States Code, Section 853(a)(l), all property

constituting, or derived from, any proceeds the person obtained, directly or indirectly, as a result

of the offense.

                                 FORFEITURE ALLEGATION 2

       Upon conviction of Count 1 of this Indictment, the defendant, JESSE BERRY, shall

forfeit to the United States, under Title 21, United States Code, Section 853(a)(2), all of the

person's property used or intended to be used, in any manner or part, to commit, or to facilitate

the commission of the offense.




                                                      1
                               FORFEITURE ALLEGATION 3

       Upon conviction of Count 1 of this Indictment, the defendant, JESSE BERRY, shall

forfeit to the United States, under Title 18, United States Code, Section 924(d), Title 21, United

States Code, Section 853, and Title 28, United States Code, Section 2461 (c ), all firearms and

ammunition involved in the commission of the offense.




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